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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                 HOT SPRINGS DIVISION


UNITED STATES OF AMERICA                                                               PLAINTIFF

VS.                                   CASE NO. 6:15CR60023-002

TITUS D. DENTON                                                                     DEFENDANT

                                             ORDER


       Currently before the Court is the Amended Report and Recommendation [ECF 32] filed in

this case on December 22, 2015, by the Honorable Barry A. Bryant, United States Magistrate Judge

for the Western District of Arkansas. Both parties have waived the right to object to the Report and

Recommendation for the purpose of expediting acceptance of the guilty plea in this matter. [ECF

36].

       The Court has reviewed this case and, being well and sufficiently advised, finds that the

Amended Report and Recommendation [ECF 32] is proper and should be and hereby is ADOPTED

IN ITS ENTIRETY. Accordingly, Defendant’s guilty plea is accepted, and the written plea

agreement is APPROVED.

       IT IS SO ORDERED this 11th day of January, 2016.



                                                     /s/ Susan O. Hickey
                                                     SUSAN O. HICKEY
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                                                     UNITED STATES DISTRICT JUDGE




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           The Clerk of Court is directed to terminate Report and Recommendations [ECF 31].
